                                                                       Entered on Docket
                                                                       November 19, 2020
                                                                       EDWARD J. EMMONS, CLERK
                                                                       U.S. BANKRUPTCY COURT
                                                                       NORTHERN DISTRICT OF CALIFORNIA


                          1 COOPER, WHITE & COOPER LLP
                            PETER C. CALIFANO (SBN 129043)
                          2   pcalifano@cwclaw.com            The following constitutes the order of the Court.
                            201 California Street, 17th Floor Signed: November 19, 2020
                          3 San Francisco, California 94111
                            Telephone:     415.433.1900
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                          5 RAY QUINNEY & NEBEKER P.C.                 ________________________________________
                                                                       Charles Novack
                            Michael R. Johnson (UT Bar No. 7070)
                                                                       U.S. Bankruptcy Judge
                          6 Pro Hac Vice Application to be Submitted
                            36 South State Street, Suite 1400
                          7 Salt Lake City, Utah 84111
                            Telephone: 801.532.1500
                          8 Facsimile: 801.532.7543

                        9 Attorneys for Attorneys for RABO
                          AGRIFINANCE LLC, as Assignee of the Rights
                       10 and Claims of RABOBANK, N.A.

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                       12                             UNITED STATES BANKRUPTCY COURT

                       13                             NORTHERN DISTRICT OF CALIFORNIA
                       14

                       15 In re                                                 CASE NO. 15-10150-CN

                       16 DEERFIELD RANCH WINERY, LLC,,                         Chapter 11

                       17                  Reorganized Debtor.                  ORDER GRANTING RABO'S EX PARTE
                                                                                MOTION TO REOPEN CASE UNDER
                       18                                                       SECTION 350(b) OF THE BANKRUPTCY
                                                                                CODE
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                       22           This case is before the Court on the ex parte motion (the "Motion") of Rabo AgriFinance

                       23 LLC (“Rabo”), as assignee of the rights and claims of Rabobank, N.A., a secured creditor of

                       24 Deerfield Ranch Winery, LLC, the Reorganized Chapter 11 Debtor (the “Debtor”) in the above-

                       25 entitled Chapter 11 case pursuant to11 U.S.C. § 350(b) and Rule 5010 of the Federal Rules of

                       26 Bankruptcy Procedure and the Court’s Order Confirming Debtor’s Amended Plan of

                       27 / / /

                       28 / / /
   COOPER, WHITE
   & COOPER LLP
     ATTORNEYS AT LAW
                      Case: 15-10150
   201 CALIFORNIA STREET
SAN FRANCISCO, CA 94111-5002
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                          1 Reorganization, dated February 22, 2016 [Dkt. 217], which confirmed the Debtor’s Amended Plan

                          2 of Reorganization, dated February 12, 2016.

                          3         Upon due consideration of the Motion,

                          4         IT IS HEREBY ORDERED that:

                          5         1. Rabo's Motion is granted, and

                          6         2. The bankruptcy case of Debtor Deerfield Ranch Winery, LLC is reopened.

                          7                                        *** END OF ORDER ***

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                          1                                  COURT SERVICE LIST

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                          3 Parties served by ECF.

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